              Case 6:18-bk-06821-KSJ          Doc 230      Filed 12/31/19       Page 1 of 3



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

In re:                                )                          Case No. 6:18-bk-6821-KJ
                                      )
DON KARL JURAVIN,                     )                          Chapter 11
                                      )
      Debtor.                         )
_____________________________________ )

               OBJECTION TO CLAIM NO. 1 OF CONSUMER OPINION CORP.

                                 NOTICE OF OPPORTUNITY TO
                              OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within thirty (30) days from the
 date set forth on the attached proof of service, plus an additional three days for service if any party
 was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the Court
 at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the movant’s
 attorney, Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N. Orange Avenue, Suite 300,
 Orlando, Florida 32801, and any other appropriate persons within the time allowed. If you file and
 serve a response within the time permitted, the Court will either schedule and notify you of a hearing
 or consider the response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose
 the relief requested in the paper, will proceed to consider the paper without further notice or hearing,
 and may grant the relief requested.

         The Debtor, Don Karl Juravin, by and through undersigned counsel, hereby files this Objection

to Claim Number 1 of Consumer Opinion Corp., and in support thereof further states as follows:

         1.     The Debtor filed a voluntary petition for relief under Chapter 7 of the Bankruptcy Code

on October 31, 2018 (the “Petition Date”). On September 16, 2019, this case was converted to Chapter

11 (the “Conversion Date”).

         2.     On January 7, 2019, Consumer Opinion Corp. (“COC”) filed Proof of Claim Number

1, alleging a general unsecured claim in the amount of $481,806.98.

         3.     As the basis for its claim, COC alleges that there was a violation of Fla. Stat. § 501.201
             Case 6:18-bk-06821-KSJ          Doc 230      Filed 12/31/19     Page 2 of 3



(Florida’s Deceptive and Unfair Trade Practices Act) and malicious prosecution, as a result of a lawsuit

filed against COC by Roca Labs, Inc.

       4.       Roca Labs, Inc. filed a lawsuit against COC in the United States District Court for the

Middle District of Florida, Tampa Division, Case No. 8:14-cv-02096-VMC-EAJ (the “Roca Labs

Lawsuit”).

       5.       While COC may have a claim against Roca Labs, Inc. for its statutory and common

law claims, the Debtor was not a party to the Roca Labs Lawsuit, and no claims were made by or

against the Debtor in the Roca Labs Lawsuit.

       6.       COC is not a creditor of the Debtor.

       WHEREFORE, the Debtor, Don Karl Juravin, respectfully request this Honorable Court enter

an Order: (a) sustaining this Objection to Claim No. 1 of Consumer Opinion Corp.; (b) disallowing

and/or striking Claim No. 1 of Consumer Opinion Corp. and (c) granting any such further relief that

this Court deems just and proper under the circumstances.

                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served in accordance

with F.R.B.P. 7004, on all parties listed on the attached Service List, this 31st day of December, 2019.

                                                ___/s/ Aldo G. Bartolone, Jr._____
                                                ALDO G. BARTOLONE, JR.
                                                Florida Bar No. 173134
                                                BARTOLONE LAW, PLLC
                                                1030 N. Orange Ave., Suite 300
                                                Orlando, Florida 32801
                                                Telephone: (407) 294-4440
                                                Facsimile: (407) 287-5544
                                                E-mail: aldo@bartolonelaw.com
                                                Attorney for Debtor




                                                   2
            Case 6:18-bk-06821-KSJ     Doc 230   Filed 12/31/19   Page 3 of 3




                                      SERVICE LIST


Consumer Opinion Corp.
Attn: Michael Podolsky, Agent
1204 Avenue U, Suite 1080
Brooklyn, NY 11229

Randazza Legal Group, PLC
2764 Lake Sahara Drive
Suite 109
Las Vegas, NV 89117

Miriam G. Suarez, Esq.
Trial Attorney
Office of the United States Trustee
400 W. Washington Street
Suite 1100
Orlando, FL 32801

Don Karl Juravin
15118 Pendio Drive
Montverde, FL 34756




                                           3
